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IN THE UNITED STATES DISTRICT COURT FOR THE | ©. GlERK US. DISTT cout?
ALEXANDRIA, VIRGINIA

  

 

 

 

 

EASTERN DISTRICT OF VIRGINIA UNDER SEAL

Alexandria Division

UNITED STATES OF AMERICA ) No. 1:18- CR-457 (AJT)
)
) COUNT ONE:
) Conspiracy To Act as an Agent of a
Vv. ) Foreign Government and To Make False
) Statements and Willful Omissions in a
) FARA Filing
BIJAN RAFIEKIAN, ) (18 U.S.C. § 371)
a/k/a “Bijan Kian,” )
(Counts 1 and 2) ) CouNT Two:
) Acting in the United States as an Agent
) of a Foreign Government
and ) (18 U.S.C. § 951)
)
) COUNTS THREE THROUGH SIX:
KAMIL EKIM ALPTEKIN, ) False Statements
(Counts 1 through 6) ) (18 U.S.C. § 1001)
)
Defendants )

INDICTMENT
December 2018 Term — At Alexandria

THE GRAND JURY CHARGES THAT:

At all times material to this Indictment:

GENERAL ALLEGATIONS

1. Defendant Bijan RAFIEKIAN, a/k/a “Bijan Kian,” (“RAFIEKIAN”) and “Person
A” were the founders of “Company A,” a U.S. company based in Alexandria, Virginia, that
offered various services to its clients based upon Person A’s national security expertise.
RAFIEKIAN served as Company A’s Vice-Chairman, Director, Secretary, and Treasurer.

Person A served as Company A’s Chairman and Chief Executive Officer.
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2. Defendant Kamil Ekim ALPTEKIN (“ALPTEKIN”) is a dual Turkish-Dutch
citizen residing in Istanbul, Turkey. ALPTEKIN owned and controlled “Company B,” a
company formed by ALPTEKIN | in the Netherlands. ALPTEKIN had close ties to the highest
levels of the Government of Turkey.

3. As discussed below, RAFIEKIAN and ALPTEKIN conspired covertly and
unlawfully to influence U.S. politicians and public opinion concerning a Turkish citizen living in
the United States whose extradition was then being sought by the Government of Turkey. The
defendants sought to discredit and delegitimize the Turkish citizen in the eyes of politicians and
the public, and ultimately to secure the Turkish citizen’s extradition. Although the Government
of Turkey directed the work through ALPTEKIN, the defendants sought to conceal Turkey’s
involvement in the efforts to discredit the Turkish citizen. As part of this concealment, the
defendants used ALPTEKIN’s company, Company B, rather than the Government of Turkey, to
serve as Company A’s “client.” Company B was also to pay Company A’s fee, although it is
clear that Turkish government officials approved the budget for, and received regular updates on,
the progress of Company A’s work.

The Government of Turkey and the Turkish Citizen

4. The Turkish citizen is an imam, writer, and political figure. The Turkish citizen
heads an organization that runs a network of schools and charitable organizations in Turkey and
in other countries. The Turkish citizen lives in the United States.

5. In 2013, a senior Turkish leader (“Senior Turkish Leader #1”) accused the
Turkish citizen of being behind investigations that were alleged to have been conducted by
prosecutors and members of law enforcement in Turkey associated with the Turkish citizen. In

December 2014, the Turkish government accused the Turkish citizen of plotting to overthrow the
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Turkish government and of leading an armed terrorist group. The Turkish citizen has denied the
allegations.

6. Since at least in or around early 2016, officials of the Government of Turkey have
communicated with the U.S. Department of Justice to demand the Turkish citizen’s extradition to
Turkey. These efforts intensified after a failed attempt at a coup d’état in Turkey on July 15,
2016. The Turkish government maintained that the Turkish citizen had orchestrated the failed
coup. The Turkish citizen has denied the allegations.

7. On July 19, 2016, Turkey submitted to the United States a request to arrest the
Turkish citizen, and on July 23, 2016, Turkey formally submitted extradition requests. After
reviewing the requests, the U.S. Department of Justice informed the Turkish Ministry of Justice
that the requests had not yet met the legal standards for extradition required by the U.S./Turkey
extradition treaty and U.S. law. Accordingly, the U.S. Department of Justice noted, extradition
could not go forward, absent additional evidence substantiating the allegations.

The “Truth Campaign”

8. On or about July 27, 2016, RAFIEKIAN replied to an email from ALPTEKIN
saying that he had had a “detailed discussion” with Person A the previous night. RAFIEKIAN
informed ALPTEKIN that, “We are ready to engage on what needs to be done.” RAFIEKIAN
added, “At the right time, I will include our partners in the communications.”

9. On or about July 29, 2016, ALPTEKIN emailed RAFIEKIAN, saying that he had
met with a Turkish government minister (“Turkish Minister #1”) and that, “He is interested in
exploring this seriously and it is likely he’ll want to meet with you and [Person A]. ...[H]e

asked me to formulate what kind of output we can generate on the short and mid-term as well as
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an indicative budget.” ALPTEKIN further told RAFIEKIAN, “Needles [sic] to tell you but he
asked me not to read in anyone else for the time being and keep this confidential.”

10. Onor about July 30, 2016, RAFIEKIAN sent ALPTEKIN an email with the
subject line “Truth,” copying Person A, saying that he and Person A had discussed a ninety-day
“Truth Campaign” and listing nine bullet points, which he referred to as “Phase Zero,” that he
claimed were essential to the project:

¢ To secure your [ALPTEKIN’s] active participation in the project.
Define the opposing force.
Develop an accurate, objective and reliable account of ““Where we are now”.
(undesired state)
e Aclear path to “where we would like to be” (desired state)
Define dependencies, uncertainties, expected and unexpected consequences.
e Define options from “narrow” and “extremely tactical” to “broad” and
“strategic” with a clear cost/benefit matrix (Net Assessment)
Apply the “Expected Value Analysis” model to options.
Define “possibilities” as distinct from “probabilities” of success and failure.
Measure second and third order effects on both “possibilities” and
“probabilities”.

RAFIEKIAN noted, “At this time, this conversation shall remain limited to you, [Person A] and
myself.”

11. On or about August 2, 2016, RAFIEKIAN emailed ALPTEKIN, saying, “Waiting
to hear from you. You, [Person A] and I are the only cleared entities on this at this time.”

12. Onorabout August 4, 2016, Person A sent an email with the subject “Truth” to
RAFIEKIAN and ALPTEKIN in response to an email from ALPTEKIN saying, “Ill get with
[RAFIEKIAN] today on your question regarding [the then U.S. Secretary of State]’s staff.”

13. On or about August 4, 2016, RAFIEKIAN sent an email with the subject “Truth”
to ALPTEKIN and Person A stressing the need to begin work on the Truth Campaign. Referring

to Iran’s Ayatollah Khomeini, RAFIEKIAN said:
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Let me give you a real life experience: 1978: A soft spoken cleric sitting under an
apple tree in Neauphle-le-Chateau in France looked so harmless. Spoke of
equality and spirituality, declared that if he were to gain power, he would go to a
religious shrine and will not get into politics and governance. Sound familiar?
Well, the world neglected to take the layers off the ink blot in 1978. One year
later, from the place under the ne apple tree, The soft spoken Spiritual man led the
Islamic Revolution in Iran .

14. On or about August 8, 2016, ALPTEKIN sent an email with the subject “Truth”
to RAFIEKIAN and Person A, saying “I had a long meeting with [a Turkish government
minister (“Turkish Minister #2”)] upon the referral of [Turkish Minister #1]. I explained what
we can offer. He agreed to discuss in general lines at the council of ministers today and
subsequently with [a senior Turkish leader (““Senior Turkish Leader #2”)] in more detail.”

15. On or about August 10, 2016, ALPTEKIN sent an email with the subject “Truth”
to RAFIEKIAN and Person A, saying, “I met with [Turkish Minister #1] and explained our
proposed approach. He is receptive and indicated he would like to meet with us during his
upcoming visit to DC. . . . I will inform you and we can strategize how best to approach the
meeting.” ALPTEKIN again inquired about the then U.S. Secretary of State, asking, “Do we
~ know anyone on his team?”

16. Onor about August 10, 2016, ALPTEKIN sent an email with the subject “Truth”
to RAFIEKIAN and Person A, saying, “I just finished in Ankara after several meetings today
with [Turkish Minister #2] and [Turkish Minister #1]. I have a green light to discuss
confidentiality, budget and the scope of the contract.”

The Involvement of the Turkish Government Is Disguised, and
the “Truth Campaign” Is Renamed “Operation Confidence”

17. Onorabout August 11, 2016, the day after ALPTEKIN emailed RAFIEKIAN to
say that he had a “green light” from Turkish Minister #2 and Turkish Minister #1, RAFIEKIAN

emailed ALPTEKIN saying that RAFIEKIAN and Person A had discussed the “campaign
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design” and “resource allocation.” RAFIEKIAN reassured ALPTEKIN, “I did not touch the
advisory support we discussed at 20%.”

18. On the very same day, RAFIEKIAN changed the name of the project from the
“Truth Campaign” to “Project Confidence.” Concurrently, for the first time, the source of
funding was changed from the Government of Turkey to a company in the Netherlands that was
wholly owned and controlled by ALPTEKIN. This was the first mention of a company owned
by ALPTEKIN in connection with the project and the first time that RAFIEKIAN made others at
Company A aware of the project. The email contained the same nine-step plan for the “Truth”
project that RAFIEKIAN emailed to ALPTEKIN on or about July 30, 2016, as mentioned in
paragraph 10, above. It contained the same ninety-day timeframe and the same description as
“Phase Zero”:

e To secure active participation of SENIOR ADVISOR [that is, ALPTEKIN].
COGS refers to this cost.

e Define the opposing force.

e Develop an accurate, objective and reliable account of “Where we are now”.
(undesired state)

e Aclear path to “where we would like to be” (desired state)

e Define dependencies, uncertainties, expected and unexpected consequences.

e Define options from “narrow” and “extremely tactical” to “broad” and
“strategic” with a clear cost/benefit matrix (Net Assessment)

e Apply the “Expected Value Analysis” model to options.
Define “possibilities” as distinct from “probabilities” of success and failure.
Measure second and third order effects on both “possibilities” and
“probabilities”.

The email attached a budget that included ALPTEKIN’s twenty-percent cut for the project.
19. On or about August 25, 2016, RAFIEKIAN emailed ALPTEKIN, copying Person
A, thanking ALPTEKIN for his decision to engage Company A on “Operation Confidence,” and

noting that ALPTEKIN would receive twenty percent of the money Company A received for the
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project. RAFIEKIAN promised to send ALPTEKIN a contract, but noted that it “will not entail
operational details for obvious reasons.”

20. On or about August 26, 2016, ALPTEKIN told RAFIEKIAN via Skype, “We are
confirmed to go.” ALPTEKIN also told RAFIEKIAN, “I think im [sic] meeting [Turkish
Minister #1]’s boss . . . not direct boss but u know who.”

21, On or about September 1, 2016, ALPTEKIN told RAFIEKIAN via Skype, “We
are also schedulting [sic] a meet with [Person A] and [Turkish Minister #1] and perhaps even
[Senior Turkish Leader #1] in third week of NY.”

22. On or about September 3, 2016, RAFIEKIAN sent ALPTEKIN an email
enclosing a contract between Company B and Company A. In the email, RAFIEKIAN said,
“We have been at work on this engagement since July 31st” — that is, when it was still called the
“Truth” campaign — “However, we decided to set the start date as August 15, 2016” — after
RAFIEKIAN and ALPTEKIN had changed the name to “Operation Confidence” and substituted
ALPTEKIN’s company, Company B, for the Government of Turkey as the source of the funding
for the project. Under the terms of the contract, Company A was to receive a total of $600,000,
broken into three $200,000 payments. The contract noted that Company B expected Company A
to “deliver findings and results including but not limited to making criminal referrals” against the
Turkish citizen. This contract contained the first mention of Company B in connection with the
project.

23. On or about September 5, 2016, RAFIEKIAN sent Person A a draft “playbook”
for the project. The playbook referred to the Turkish citizen as “X” and referred to Turkey as
“Country X.” It also noted that a public registration for the project would claim that a Dutch

entity was the client. The playbook explained that the project would compare the Turkish citizen
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to Khomeini. RAFIEKIAN used the same “apple tree” description of Khomeini that he had used
when the project was still called the “Truth campaign,” as mentioned in paragraph 13, above.

24. On or about September 6, 2016, RAFIEKIAN emailed Person A, saying, “Client
is seeking a high level meeting in NYC on September 19th or 20th.” On or about September 9,
2016, RAFIEKIAN emailed Person A, saying, “the meeting is with high level audience
(Cabinet+ level) related to ‘CONFIDENCE.’”

25. On or about September 9, 2016, ALPTEKIN wired $200,000 to Company A. On
or about September 12, 2016, RAFIEKIAN emailed an employee of Company A, saying that
Company A needed to wire $40,000 back to ALPTEKIN. RAFIEKIAN claimed that
ALPTEKIN was Company A’s “outside advisor on the Confidence Project.” On or about the
same day, RAFIEKIAN emailed Person A a draft agreement between Company A and
ALPTEKIN that also claimed that ALPTEKIN was Company A’s advisor, saying, “We need this
to create an audit trail on properly documenting the relationship.”

The “High Level” Meeting with Turkish Ministers

26. Onorabout September 18, 2016, in preparation for the meeting with the Turkish
officials, RAFIEKIAN sent ALPTEKIN a document entitled “Background and Talking Points,”
which contained approximately twenty talking points for the meeting, all of which concerned the
Turkish citizen, the Turkish citizen’s movement, or the Turkish citizen’s charter schools in the
United States.

27. RAFIEKIAN’s “Background and Talking Points” contained the same “apple tree”
comparison of Khomeini and the Turkish citizen that RAFIEKIAN had used in his email to
ALPTEKIN (paragraph 13) when the project was still called the “Truth campaign” and in the

“playbook” (paragraph 23) when RAFIEKIJAN referred to the Turkish citizen as “X.”
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28. On or about the evening of September 19, 2016, Person A, RAFIEKIAN,
ALPTEKIN, and other members of the project met in New York City with Turkish Minister #1
and Turkish Minister #2. The conversation centered on the Turkish citizen and the Turkish
government’s efforts to convince the U.S. government to extradite the Turkish citizen to Turkey.

29. On September 21, 2016, RAFIEKIAN emailed Person A that he had met with
ALPTEKIN that day and that “the feedback from the late evening meeting was positive.”

30.  Inor about September and October 2016, RAFIEKIAN and others involved in the
project visited with and lobbied a member of Congress, a Congressional staffer, and a state
government official in an attempt to depict the Turkish citizen as a threat who should be returned
to Turkey and to persuade them to hold Congressional hearings concerning the Turkish citizen.

Money Transfers from ALPTEKIN to Company A
and Kickbacks from Company A to ALPTEKIN

31, On or about September 9, 2016, ALPTEKIN caused $200,000 to be wire
transferred from a Turkish bank account in ALPTEKIN’s name to Company A’s U.S. bank
account.

32. On or about September 13, 2016, RAFIEKTIAN caused $40,000 to be wire
transferred from Company A’s U.S. bank account to Company B’s bank account in the
Netherlands.

33. Onor about October 7, 2016, RAFIEKIAN sent ALPTEKIN Company A’s
invoice for $200,000. On or about October 11, 2016, RAFIEKIAN sent an email to an employee
of Company A asking him to send a wire transfer to Company B “as soon as Mr. Alptekin sends
us an invoice for consulting services that he is providing to [Company A] on the Confidence

project.”
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34. On or about October 11, 2016, ALPTEKIN caused $185,000 to be wire
transferred from a Turkish bank account in ALPTEKIN’s name to Company A’s U.S. bank
account.

35. | On or about October 14, ALPTEKIN sent RAFIEKIAN an invoice to Company A
from Company B for $40,000 for “Consultancy Fee Confidence Project,” which RAFIEKIAN
approved the following day.

36. On or about October 17, 2016, RAFIEKIAN caused $40,000 to be wire
transferred from Company A’s U.S. bank account to Company B’s bank account in the
Netherlands.

37. On or about November 10, 2016, RAFIEKIAN sent ALPTEKIN an invoice for
$200,000 for its third payment under the agreement. In the enclosing email, RAFIEKIAN wrote,
“We will process a wire transfer to [Company B] for research and consultation services provided
by [Company B] immediately after receipt of the payment for the attached invoice.”

38. On or about November 14, 2016, ALPTEKIN caused $145,000 to be wire
transferred from a Turkish bank account in ALPTEKIN’s name to Company A’s U.S. bank
account.

The Turkish Government's Continuing
Direction and Control of “Operation Confidence”

39. On approximately a weekly basis during the project, RAFIEKIAN, Person A, and
other Company A team members had telephone conference calls with ALPTEKIN to update
ALPTEKIN on the progress of the project. ALPTEKIN relayed this information to Turkish
officials and informed RAFIEKIAN and Person A whether the Turkish officials were satisfied

with the work Company A was performing.

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40. On or about October 22, 2016, Person A sent a text message to the project team,
including RAFIEKIAN, saying, “T walked [ALPTEKIN] through the social media analysis
which he found very interesting and worth talking to [Turkish Minister #1] about as well as all
the other talking points.”

Person A’s Op-Ed Urging the
United States Government To Extradite the Turkish Citizen

41. On or about September 15, 2016, ALPTEKIN sent RAFIEKIAN a Skype
message saying, “[Turkish Minister #1]’s guy in Turkey who is read into project confidence
advised me to include an oped that [Company A] would get published under my name.”

42, During a weekly conference call on or about October 7, 2016, in which
RAFIEKIAN and ALPTEKIN participated, one or more participants discussed publishing an op-
ed concerning the funding for the Turkish citizen’s private schools.

43. | Onor about October 13, 2016, a Company A employee prepared talking points
for Person A to use in discussing the project with ALPTEKIN on a weekly conference call
scheduled for the following day. One talking point said, “We will attempt to have an Op Ed
written that links funding, Islamists and the subject et al as Mullahs/Imams.”

44. Onor about November 2, 2016, ALPTEKIN complained to RAFIEKIAN that
Company A had not publicized enough negative information about the Turkish citizen.
ALPTEKIN asked for a “smoking gun,” and said that he wanted recorded conversations with
unhappy teachers, media coverage of the Turkish citizen, private investigative work targeting the
Turkish citizen’s supporters, and Congressional hearings about the Turkish citizen and his

charter schools.

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45. On or about the same day, November 2, 2016, RAFIEKIAN sent an email to
ALPTEKIN enclosing a draft of an op-ed piece that RAFIEKIAN had written urging the Turkish
citizen’s extradition. In the email, RAFIEKIAN said, “A promise made is a promise kept.”

46. | RAFIEKIAN’s draft op-ed contained the same “apple tree” comparison of
Khomeini and the Turkish citizen that RAFIEKIAN had used in his email to ALPTEKIN when
the project was still called the “Truth campaign” (paragraph 13); and in the “playbook” when
RAFIEKIAN referred to the Turkish citizen as “X” (paragraph 23); and in the “Background and
Talking Points” that RAFIEKIAN prepared for ALPTEKIN and others just before the “high
level” meeting in New York with the Turkish cabinet members (paragraph 27).

47, Onor about November 3, 2016, RAFIEKIAN wrote to Person A, “I asked [the
editor] to review and edit my 1000 word draft to make sure it is tight before I send it out to you.
The plan is to go out with the piece on Monday.”

- 48. On or about November 4, 2016, RAFIEKIAN emailed ALPTEKIN about the op-
ed, saying, “I just left [Person A]. The arrow has left the bow! .. . This is a very high profile
exposure one day before the election.” Attached to the email was a draft of the op-ed, which
argued that the United States should not provide “safe haven” to the Turkish citizen.

49. | Onor about November 5, 2016, ALPTEKIN emailed RAFIEKIAN, saying,
“[Person A] is right on target.”

50. On orabout November 8, 2016, an op-ed titled Our Ally Turkey Is in Crisis and
Needs Our Support was published in the newspaper The Hill and on its website. Person A was
listed as the op-ed’s author. The op-ed blamed the Turkish citizen for the July 15, 2016,

attempted coup and urged the U.S. government to deny the Turkish citizen refuge in the United

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States. The op-ed contained the same “apple tree” comparison of Khomeini and the Turkish

citizen that RAFIEKIAN had used before:

 

 

le-Chateau in
France looked so
harmless. Spoke
of equality and
spirituality ....

Neauphle-Le-
Chateau near Paris.
He claimed that he
was a man of God,
set out to topple a
dictator. ...
Washington believed
the Ayatollah.

 

Le-Chateau in the
suburbs of Paris in
1978. He claimed to
be a man of God who
wanted to topple a
dictator... .
Washington believed
him.

 

Rafiekian’s Email. |. Talking Points. _| Rafiekian Draft Op-Ed | Person A’s Op-Ed —
August 4, 2016 |. September 18, 2016 November 2, 2016 November 8, 2016 —

A soft spoken In 1978, a soft- We all remember We all remember

cleric sitting spoken, gray beard another quiet bearded another quiet,

under an apple elderly Shia cleric sat | cleric who sat under an | bearded, elder cleric

tree in Neauphle- | under an apple tree in | apple tree in Neauphle- | who sat under an

apple tree in
Neauphle-Le-
Chateau in the
suburbs of Paris in
1978. He claimed to
be a man of God
who wanted to
topple a dictator... .
Washington believed
him.

 

 

 

False Statements and Omissions by RAFIEKIAN and ALPTEKIN to Company A’s Attorneys

51. Following Person A’s op-ed, the FARA Registration Unit of the U.S. Department

of Justice (the “FARA Unit”) sent a letter to Person A requesting additional information to

determine whether Person A, Company A, and/or other individuals had an obligation to register

as an agent of a foreign government under the Foreign Agents Registration Act (“FARA”).

52. From approximately January 2017 through approximately March 2017, outside

attorneys for Company A gathered information to determine whether Company A or any of its

employees had an obligation to register under FARA based upon Company A’s work on

“Operation Confidence.” During this process, RAFIEKIAN and ALPTEKIN knowingly

provided false information to Company A’s attorneys in an effort to hide from the attorneys —

and ultimately from the FARA Unit — the involvement of Turkish government officials in the

project.

53. Among other things, RAFIEKIAN falsely told Company A’s attorneys that:

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a. The meeting on or about September 19, 2016 in New York City had
nothing to do with Project Confidence, and instead was in furtherance of an abandoned

“Project Truth” that was distinct from Project Confidence;

b. There were no other contacts with Turkish government officials regarding
the project;
c. The op-ed was Person A’s own idea, and he wrote it on his own behalf,

and unrelated to the project;

d. ALPTEKIN did not want the op-ed to be published; and

e. Payments from Company A to Company B were refunds for lobbying and
public relations work that Company A did not perform.

54. | Attorneys for Company A also solicited information from ALPTEKIN for use in
the FARA filings. Through his own attorneys, ALPTEKIN falsely told Company A’s attorneys
that:

a. ALPTEKIN had not been consulted on the op-ed, and that he would have
opposed it if he had been consulted; and

b. The project was done on behalf of an Israeli company that owned a share
in a natural gas consortium seeking to do business in Turkey.

55. On or about March 7, 2017, RAFIEKIAN and ALPTEKIN caused to be made the
following false statements of material fact in documents filed with and furnished to the Attorney
General under the provisions of FARA, and omitted the following material facts necessary to
make the statements therein not misleading. RAFIEKIAN reviewed the filings and provided
comments to Company A’s attorneys before the filings were submitted, but did not request that

any of these false statements be changed.

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False Statements and Omissions by RAFIEKIAN and ALPTEKIN
in Company A’s FARA Registration Statement

56. +‘ Paragraph 7: “List every foreign principal for whom the registrant is acting or
has agreed to act.”
Response: | “[Company B]”
57. Paragraph 8: “[W]ill you engage or are you engaging now in activity on your
own behalf which benefits any . . . of your foreign principals?”
Response: “(D]uring the course of the engagement and thereafter, [Company
A] officials (particularly [Person A], in his capacity as a public
figure separate from [Company A]) frequently wrote, spoke, or
provided interviews relating to national security. Although not
undertaken at the direction of any foreign principal, including but

not limited to [Company B], it is possible that such activities may
have had an indirect benefit to [Company B].”

58. Exhibit A to Company A’s FARA Registration Statement falsely stated that
“(Company A] does not know whether or the extent to which the Republic of Turkey was
involved with its retention by [Company B] for the three-month project.” |

59. Paragraph 8(b) of Exhibit A to Company A’s FARA Registration Statement
falsely stated that the named foreign principal, Company B, was not supervised by a foreign
government or other foreign principal.

60. Paragraph 8(b) of Exhibit A to Company A’s FARA Registration Statement
falsely stated that the named foreign principal, Company B, was not directed by a foreign
government or other foreign principal.

False Statements and Omissions by RAFIEKIAN and ALPTEKIN
in Company A’s FARA Supplemental Statement

61. Paragraph 13: “In addition to the above described activities, if any, have you

engaged in activity on your own behalf which benefits your foreign principal?”

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Response: “Because of its expertise, [Company A] officials write, speak, and
give interviews relating to national security. Although not
undertaken at the direction or control of a foreign principal, it is
possible that such activities may have an indirect benefit to a
principal. On his own initiative, [Person A] published an op-ed in
The Hill on November 8, 2016, that related to the same subject
matters as [Company A] work for [Company B]. Neither
[Company B], nor any other person requested or directed
publication of the op-ed.”

False Statements and Omissions by RAFIEKIAN and ALPTEKIN
in the Attachment to Company A’s FARA Supplemental Statement

62. The Attachment to Company A’s FARA Supplemental Statement falsely stated
that “[Company A] understood the engagement to be focused on improving U.S. business
organizations’ confidence regarding doing business in Turkey, particularly with respect to the
stability of Turkey and its suitability as a venue for investment and commercial activity.”

63. The Attachment to Company A’s FARA Supplemental Statement falsely stated
that the September 19, 2016, meeting in New York with Turkish government officials was “for

the purpose of understanding better the political climate in Turkey at the time, as background for

the project.”

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COUNT ONE
Conspiracy — 18 U.S.C. § 371
THE GRAND JURY FURTHER CHARGES THAT:
1. The allegations contained in the General Allegations of this Indictment are
incorporated here by reference.
2. From at least July 2016, through at least March 2017, in the Eastern District of
Virginia and elsewhere, the defendants,
| BIJAN RAFIEKIAN, a/k/a “Bijan Kian”
and
KAMIL EKIM ALPTEKIN,
together with others known and unknown, knowingly and intentionally conspired:
(a) To knowingly act and cause others to act in the United States as an agent
of a foreign government without prior notification to the Attorney
General, in violation of 18 U.S.C. § 951; and
(b) To willfully make in a document filed with or furnished to the Attorney
General under the provisions of the Foreign Agents Registration Act a
false statement of a material fact, and to willfully omit from the document
a material fact required to be stated therein, and to willfully omit from the
document a material fact or a copy of a material document necessary to
make the statements therein and the copies of documents furnished
therewith not misleading, in violation of 22 U.S.C. § 618(a)(2).
3. In furtherance of the conspiracy, the defendants and their co-conspirators

performed an act to effect the unlawful object of the conspiracy, that is, the acts and omissions

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described in paragraphs 8 through 50 and paragraphs 52 through 63 of the General Allegations of

this Indictment.

(In violation of Title 18, United States Code, Section 371)

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COUNT Two
Acting as an Unregistered Agent of a Foreign Government — 1 8 U.S.C. § 951

THE GRAND JURY FURTHER CHARGES THAT:

1. The allegations contained in the General Allegations of this Indictment are
incorporated here by reference.

2. From approximately July 2016 through approximately March 2017, in the Eastern
District of Virginia and elsewhere, the defendants,

BIJAN RAFIEKIAN, a/k/a “Bijan Kian”
and
KAMIL EKIM ALPTEKIN,

knowingly acted and caused others to act in the United States as an agent of a foreign
government, that is, the Government of Turkey, without prior notification to the Attorney
General, as required by law.

(In violation of Title 18, United States Code, Sections 951 and 2)

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COUNTS THREE THROUGH SIX
False Statements — 18 U.S.C. § 1001(a)(2)
THE GRAND JURY FURTHER CHARGES THAT:
1. The allegations contained in the General Allegations of this Indictment are
incorporated here by reference.
2. On or about May 24, 2017, in the Eastern District of Virginia, defendant KAMIL
EKIM ALPTEKIN, in a matter within the jurisdiction of the executive branch of the Government
of the United States, knowingly and willfully made materially false, fictitious, and fraudulent
statements and representations. In particular, in an interview with the FBI, ALPTEKIN made the
following false statements, each representing a separate count of this Indictment:
COUNT THREE:

ALPTEKIN falsely stated that Company B retained Company A because another of
Company B’s clients wanted to know what the atmosphere was in Turkey, if Turkey
would stay aligned with the West, and if the situation between Israel and Turkey would
get better.

COUNT FOUR:

After ALPTEKIN told the FBI that he had spoken to Turkish Minister #1 about the need
for someone to do research and to explain to American policymakers the issues
concerning the Turkish citizen, ALPTEKIN falsely stated that, although Turkish Minister
#1 said that he would do something about it, he did not and Turkey dropped the ball.

COUNT FIVE:

ALPTEKIN falsely stated that after the Turkey government dropped the ball, ALPTEKIN
decided to retain Company A himself.

COUNT SIX:

ALPTEKIN falsely stated that the $40,000 payments to Company B from Company A
were refunds for lobbying and public relations work that were contemplated under the
contract, but that Company A did not perform.

(In violation of Title 18, United States Code, Section 1001(a)(2))

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A TRUE BILL:
Pursuant to the E-Government Act,,
The original of this page has been filed
under seal in the Clerk's Office

FOREPERSON OF THE GRAND JURY

 

G. ZACHARY TERWILLIGER

   

Evan N. Turgeon
Trial Attorney
Counterintelligence and Export Control Section
National Security Division, U.S. Department of Justice

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